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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

 

CHERIE LEESE,

Plaintiff, :

V. : 3:17-CV-00274
: (JUDGE MARIANI)

COMMONWEALTH OF PENNSYLVANIA : FILED
Department of Insurance ; SCRANTON

Defendant OCT 43 202!

ORDER PER

 

AND NOW, THIS _ fa i, DAY OF OCTOBER 2021, upon consideration of

 

Plaintiffs March 6, 2020, motion filed pursuant to Rule 60(b) of the Federal Rules of Civil
Procedure (Doc. 116) and all relevant documents, for the reasons set out in the
accompanying Memorandum Opinion, IT IS HEREBY ORDERED THAT:
1. Plaintiff's March 6, 2020, motion filed pursuant to Rule 60(b) of the Federal Rules of
Civil Procedure (Doc. 116) is DENIED:
2. The Motion for Leave to File an Amended Rule 60 Motion (Doc. 131) is DENIED AS
MOOT;
3. Plaintiffs Motion for Extension of Time to File an Amended Federal Rule 60 Motion
and Memorandum in Support (Doc. 136) is DENIED AS MOOT;
4. Plaintiff's Amended Motion for Relief from Final Judgment in Support of Her

Memorandum of Support Under Federal Rule 60 (Doc. 139) is DENIED AS MOOT;
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4, Plaintiffs Amended Motion for Relief from Final Judgment in Support of Her
Memorandum of Support Under Federal Rule 60 (Doc. 139) is DENIED AS
MOOT;

5. Plaintiffs Second Amended Motion for Relief from Final Judgment in Support of Her
Memorandum of Support Under Federal Rule 60(b)(2) and (3) (Doc. 142) is *
DENIED AS MOOT;

6. Plaintiffs Third Amended Motion for Relief from Final Judgment in Support of Her
Memorandum of Support Under Federal Rule 60(b)(2) and (3) (Doc. 146) is

DENIED AS MOOT.

 

 

Rober D. Tem
United States District Judge
